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               IN THE UNITED STATES DIFIVICICTIcOURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION A l: 411

WILLIE MOODY,JR.,
individually,

      Plaintiff,

v.                                           Case No.a;19-cv-73R-na5-3M)

STIVERS REALTY,LLC,
a foreign limited liability company,

      Defendant.


                                 COMPLAINT

       Plaintiff WILLIE MOODY, JR. (hereinafter "MOODY" or "Plaintiff')

hereby sues Defendant STIVERS REALTY, LLC, a Foreign Limited Liability

Company,(hereinafter "Defendant")for injunctive relief, attorney's fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §§

12101-12103, 12181-12205a(hereinafter"ADA"),and its implementing regulations

and alleges as follows:

                          JURISDICTION AND VENUE

      1.    This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction under 28 U.S.C. §

1331 and 28 U.S.0 § 1343.



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       2.     Venue is properly located in the Middle District of Alabama pursuant

to 28 U.S.C. § 1391(b)because venue lies in the judicial district ofthe property situs

or the judicial district in which a substantial part of the events or omissions giving

rise to Plaintiffs claims occurred. The Defendant's property is located in and does

business within this judicial district and all events giving rise to this lawsuit occurred

in this judicial district.

                                       PARTIES

       3.     Plaintiff, WILLIE MOODY, JR. is an Alabama resident individual.

Plaintiff is sui juris and qualifies as an individual with disabilities as defined by the

ADA. Plaintiff utilizes a wheelchair for mobility and has limited dexterity in his

extremities due to permanent spinal damage sustained when he was wounded while

serving his county in the United States Army. Plaintiffs condition is one that

constitutes a physical impairment which impacts and substantially limits the major

life activity of walking and having complete use of his extremities and as such is a

qualified disability under the ADA.

       4.     Defendant, STIVERS REALTY, LLC (hereinafter referred to as

"Defendant"), is a limited liability company registered to do business and, in fact, is

conducting business in the State of Alabama. STIVERS REALTY, LLC, is the

owner, lessor, and/or operator of the real property and improvements that are the

subject of this action, specifically: Stivers Ford Lincoln located at 4000 Eastern


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Blvd., Montgomery, Alabama (hereinafter referred to as "premises", "subject

premises", "subject facility", "subject property", "subject locatioe, "Defendant's

premises" and/or "Defendant's property").

               COUNT I — CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      5.     On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act("ADN'), 42 U.S.C. § 12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. For enforcement purposes, the effective date of Title III of the ADA

was January 26, 1992. 42 U.S.C. § 12181; 20 C.F.R. § 36.508(A).

      6.     To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small businesses and Section

190 of the IRS Code provides a tax deduction for all businesses, including the

Defendant.

      7.     Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) is readily achievable

by the Defendant due to the low costs ofremoving its existing architectural barriers

and the financial assistance made available to Defendant by the government pursuant

to Section 44 and/or Section 190 of the IRS Code.

      8.     Pursuant to 42 U.S.C. § 12181(7) and 28 C.F.R. §36.104, the subject

facility owned by STIVERS REALTY,LLC is a place of public accommodation in

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that it owns the real property and fixtures of an automobile dealership that provides

automobiles and automobile maintenance and sales related services to the public.

Pursuant to 42 U.S.C. § 12182(a), the Defendant is liable for any ADA violations on

the subject premises because it owns and controls the subject premises and while

regulations promulgated by the Department of Justice state that a landlord may

contractually allocate to a tenant the responsibility to comply with the ADA,

however if such allocation is made it is effective only as between the landlord and

tenant and has no effect on the rights ofthird parties such as the Plaintiff in this case.

As the owner ofthe real property and fixtures ofthe subject premises the Defendant

is independently liable for the barriers to equal access as alleged herein. 28 C.F.R. §

36.201(b).

       9.       Prior to instituting this action, and on numerous occasions per month

over the last year and before, Moody visited and attempted to patronize Defendant's

premises at issue in this matter, and was denied full, safe and equal access to the

subject property and the benefits of services, programs, and/or activities of the

subject premises and its facilities, and has otherwise been discriminated against, has

suffered an injury in fact, and been damaged by Defendant due to its lack of

compliance with the ADA.Plaintiffhas personal knowledge that the subject location

is presently in violation of the ADA and is discriminating against individuals with

disabilities.


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      10.    Due to the violations ofthe ADA at Defendant's premises Plaintiff does

not have safe and equal access to the goods and services available to Defendant's

able-bodied patrons at this location. Plaintiff has suffered, and continues to suffer,

frustration and humiliation as a result ofthe discriminatory conditions present at the

subject premises.

      11.    Plaintiff has a bona fide desire and intent to patronize i.e., avail himself

ofthe goods and services of, Defendant's subject premises once the barriers to equal

access that amount to violations of the ADA are removed; however, Plaintiff is

deterred from doing so as a result of the barriers to access which currently persist at

said premises. The existence of these barriers creates a 100 percent likelihood that

Plaintiff will suffer the same injury as alleged each time he returns in the future.

      12.    Plaintiff is also a tester for the purpose of asserting his civil rights by

monitoring, ensuring, and determining whether places of public accommodation,

such as Defendant, are in compliance with the ADA so that individuals with

disabilities, including himself, and those using wheelchairs similarly situated, will

have full and equal enjoyment ofthe property without fear of discrimination and the

accompanying humiliation associated with discrimination.

      13.    Plaintiff resides less than five(5) miles from where the subject facility

is located and has a real; continuing, and irnrnediate threat of future discrimination

as a result of Defendant s violation of, and non-compliance with, the ADA because


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he intends to continue to visit, i.e. attempt to patronize, the subject location each

time he travels by the subject facility which occurs numerous times each month.

Accordingly, Plaintiff intends to attempt to patronize, i.e., visit, Defendant's subject

location numerous times next month, and on a regular basis each month following.

Plaintiff will do this until the barriers are remediated and he is able to patronize the

subject location with access equal to that of Defendant's able-bodied customers.

      14.    Defendant has discrirninated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment ofthe goods, services, facilities, privileges, advantages, and/or

accommodations at the subject facility in derogation of42 U.S.C. § 12101 et seq.

      15.    Pursuant to the mandates of42 U.S.C.§ 12134(a), on July 26, 1991,the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements ofthe ADA 28 C.F.R. Part 36.

       16.   Defendant is in violation of42 U.S.C. § 12181 et seq., and 28 C.F.R. §

36.302 et seq., and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered and/or observed:

                                      PARKING

      a.     The plaintiff could not safely utilize the parking facility as
             there are no designated accessible parking spaces present
             in violation of Section 4.6 of the ADAAG and Sections
             208 and 502 ofthe 2010 ADA Standards, whose resolution
             is readily achievable.


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b.    The plaintiff could not safely utilize the parking facility as
      there is no designated van accessible parking space present
      in violation of Section 4.6 of the ADAAG and Sections
      208, 302 and 502 of the 2010 ADA Standards, whose
      resolution is readily achievable.

c.    The plaintiff could not safely utilize the parking facility
      because the parking spaces were not level in violation of
      Section 4.6.3 of the ADAAG and Section 502.4 of the
      2010 ADA Standards, whose resolution is readily
      achievable.

d.    The plaintiff could not safely traverse the parking facility
      as the ground surface consisted of unmaintained blacktop
      pavement in violation of Section 4.5 of the ADAAG and
      Section 303 of the 2010 ADA Standards and said
      accessible feature is not being maintained by Defendant in
      violation of 28 CFR § 36.211, whose resolution is readily
      achievable.

       EXTERIOR ACCESSIBLE ROUTES/CURB RAMPS

e.    The plaintiffcould not independently use the two(2)built-
      up curb ramps to access the subject facility without
      suffering overexertion and fatigue because the running
      slope of the built-up curb ramps were too steep. Violation:
      The built-up curb ramps (the only accessible route to
      Shiver's Ford Lincoln for wheelchair users) have runs
      which exceed the maximum slope requirement(8.33%)set
      forth in Section 4.7.2 ofthe ADAAG and Section 406.1 of
      the 2010 ADA Standards, whose resolution is readily
      achievable.

f.    The plaintiff could not safely use the built-up curb ramps
      because the surfaces of the ramps have changes in level
      due to uneven and/or broken blacktop pavement.
      Violation: The built-up curb ramps have surfaces with
      changes in level in violation of Sections 4.7.4 and 4.5 of
      the ADAAG and Sections 405.4 and 406 ofthe 2010 ADA
      Standards, whose resolution is readily achievable.

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                             RESTROOM

g•    The plaintiff had difficulty entering the restroom as the
      restroom entrance door requires excessive force to open.
      Violation: The restroom door requires more than the
      minimum allowable opening force for an interior hinged
      door in violation of Section 4.13.11 of the ADAAG and
      Section 404.2.9 of the 2010 ADA Standards, whose
      resolution is readily achievable.

      The plaintiff had difficulty entering the restroom as the
      restroom entrance door had hardware that requires tight
      grasping, pinching, or twisting of the wrist. Violation:
      ADA compliant door hardware is not provided on the
      restroom doors in violation of Section 4.13.9 of the
      ADAAG and Sections 309.4 and 404.2.7 ofthe 2010 ADA
      Standards, whose resolution is readily achievable.

i.    The plaintiff could not safely use the toilet as it was
      mounted too far from the adjacent side wall. Violation:
      The toilet is mounted at a noncompliant distance from the
      wall in violation of Section 4.16.2 of the ADAAG and
      Section 604.2 of the 2010 ADA Standards, whose
      resolution is readily achievable.

      The plaintiff could not flush the toilet without difficulty as
      the flush valve was not mounted on the open side of the
      toilet. Violation: The flush valve is not mounted on the
      compliant side of the toilet in violation of Section 4.16.5
      of the ADAAG and Section 604.6 of the 2010 ADA
      Standards, whose resolution is readily achievable.


                           MAINTENANCE

      The accessible features of the facility are not maintained,
      creating barriers to access for the Plaintiff, as set forth
      herein, in violation of 28 CFR §36.211.

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      17.    The foregoing violations are violations of the 1991 Americans with

Disabilities Act Accessibility Guidelines (ADAAG), and the 2010 Standards for

Accessible Design, as adopted by the U.S. Departrnent of Justice.

      18.    The Plaintiff states that as soon as he encountered and/or observed the

architectural barriers at the subject location he had actual notice that the Defendant

does not intend to comply with the ADA.

      19.    The discriminatory violations described in paragraph 16 are not an

exhaustive list of the Defendant's current barriers to equal access and violations of

the ADA because Plaintiff was unable to access and assess all areas of the subject

prernises due to the architectural barriers encountered. A complete list ofthe subject

location's ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiffs representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, he has

actual notice that the defendant does not intend to comply with the ADA.

      20.    Plaintiff knows it will be a futile gesture to attempt to patronize the

facility unless he is willing to endure further discrimination, therefore, Plaintiff is

deprived of the meaningful choice of freely patronizing the subject prernises when

in contrast the subject premises is readily available to able bodied patrons and the


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general public without disabilities.

      21.    To date, the Defendant's barriers to access and other violations of the

ADA still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA. Plaintiff has reasonable grounds to

believe that he will be subjected to discrimination in violation of the ADA by

Defendant if these violations are not corrected and made compliant.

      22.    By continuing to operate the subject premises with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiffs sense of

isolation and segregation and deprives Plaintiff of the full and equal enjoyment of

the goods, services, facilities, privileges, and accommodations available to able

bodied individuals ofthe general public.

      23.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, ifthere has been an alteration to Defendant's place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, ifthe Defendant's facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28


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CFR 36.401,then the Defendant's facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA.To date, Defendant has failed

to comply with this mandate.

      24.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm. Considering the balance of hardships between the Plaintiff and Defendant, a

remedy in equity is warranted. Furthermore, the public interest would not be

disserved by a permanent injunction. Plaintiff has been obligated to retain

undersigned counsel for the filing and prosecution of this action and is entitled to

recover attorney's fees, costs and litigation from the Defendant pursuant to 42 U.S.C.

§ 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal access to the

subject premises, as provided by the ADA unless the injunctive relief requested

herein is granted.

       25.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an. Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

       WHEREFORE, the Plaintiff demands judgment against Defendant and


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requests the following injunctive and declaratory relief:

      A.     That the Court declare that the property owned and
             administered by Defendant is violative ofthe ADA;

      B.     That the Court enter an Order directing Defendant to alter
             its facilities to make them accessible to and useable by
             individuals with disabilities to the full extent required by
             Title III of the ADA;

             That the Court enter an Order directing Defendant,
             pursuant to 28 C.F.R. §36.211,to fulfill its continuing duty
             to maintain its accessible features and equipment so that
             the facility remains accessible to and useable by
             individuals with disabilities to the full extent required by
             Title III of the ADA;

      D.     That the Court enter an Order directing Defendant to
             implement and carry out effective policies, practices, and
             procedures to maintain the accessible features and
             equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
             §36.211.

      E.     That the Court enter an Order directing Defendant to
             evaluate and neutralize its policies and procedures towards
             persons with disabilities for such reasonable time so as to
             allow them to undertake and complete corrective
             procedures;

      F.     An award of attorneys' fees, costs(including expert fees),
             and litigation expenses pursuant to 42 U.S.C. § 12205;

      G.     An award of interest upon the original sums of said award
             of attorney's fees, costs (including expert fees), and other
             expenses of suit; and

      H.     Such other relief as the Court deems just and proper,
             and/or is allowable under Title III of the Americans with
             Disabilities Act.


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      Dated this the   ,''.40.ay of   .5:e."4"            ,2019.

                                Respectfully submitted,

                                BY:      ,t,o(vti /4P-fte
                                Bridget M. Balgentine
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                                AL State Bar No.: ASB-3487-G61W

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